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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

ANTWAN BACON,

             Plaintiff,                            Hon. Paul L. Maloney

v.                                                 Case No. 1:21-cv-188

MIDWESTERN PET FOOD INC., et al.,

            Defendants.
____________________________________/

                          REPORT AND RECOMMENDATION

      This matter is before the Court on Defendants’ Motion to Dismiss. 1       (ECF

No. 19).   Pursuant to 28 U.S.C.    636(b)(1)(B), the undersigned recommends that

Defendants’ motion be granted and this matter terminated.

                                   BACKGROUND

      In his complaint, Plaintiff alleges the following. (ECF No. 1). On the morning

of October 14, 2020, Plaintiff discovered that his puppy, Eli, was deceased. Over the

course of the next several days, Plaintiff observed that his other two dogs, King and

Princess, were “not acting normally.” On November 20, 2020, Plaintiff discovered that




1 Defendants titled their motion as a “motion for summary judgment.” But Defendants
cite to Federal Rule of Civil Procedure 12(b)(6). They are challenging the viability of
Plaintiff’s allegations, and they have not submitted evidence or matters outside the
complaint in support of their motion.        Accordingly, the Court has interpreted
Defendants’ motion as a motion to dismiss under Rule 12.

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King and Princess had defecated and vomited throughout the house, were acting

sluggish, and refused to eat. Moreover, their eyes were “completely yellow.”

      On January 7, 2021, Plaintiff traveled to a nearby Tractor Supply location to

purchase two bags of SportMix Premium Energy Plus, the dog food he had been feeding

his dogs since October 2020. Plaintiff was informed, however, that this dog food had

been recalled. When Plaintiff contacted the “Tractor Supply corporate office,” he was

offered a $150 gift card for his inconvenience and informed that a representative from

Midwestern Pet Food would contact him. A representative from Midwestern Pet Food

twice contacted Plaintiff and instructed him to complete an “online form.” Plaintiff

had no further interaction with Tractor Supply or Midwestern Pet Food.

      Plaintiff, believing that the dog food he had purchased at Tractor Supply caused

his dogs’ death and illness, initiated this action against Tractor Supply and Midwestern

Pet Food. Plaintiff claims violations of his Fourteenth Amendment right to be free

from animal cruelty.     Plaintiff seeks declaratory, injunctive, and monetary relief.

Defendants now move to dismiss Plaintiff’s complaint for failure to state a claim on

which relief may be granted. Plaintiff has responded to Defendants’ motion.

                                LEGAL STANDARD

      A claim must be dismissed for failure to state a claim on which relief may be

granted unless the “[f]actual allegations [are] enough to raise a right for relief above the

speculative level on the assumption that all of the complaint’s allegations are true.”

Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 545 (2007). The Court need not accept as

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true, however, factual allegations which are “clearly irrational or wholly incredible.”

Denton v. Hernandez, 504 U.S. 25, 33 (1992).

      As the Supreme Court has held, to avoid dismissal, a complaint must contain

“sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on

its face.’ ” Ashcroft v. Iqbal, 556 U.S. 662, 677-78 (2009). This plausibility standard “is

not akin to a ‘probability requirement,’ but it asks for more than a sheer possibility that

a defendant has acted unlawfully.” If the complaint simply pleads facts that are “merely

consistent with” a defendant’s liability, it “stops short of the line between possibility and

plausibility of ‘entitlement to relief.’ ” Id. As the Court further observed:

             Two working principles underlie our decision in Twombly.
             First, the tenet that a court must accept as true all of the
             allegations contained in a complaint is inapplicable to legal
             conclusions. Threadbare recitals of the elements of a cause of
             action, supported by mere conclusory statements, do not
             suffice . . . Rule 8 marks a notable and generous departure
             from the hyper-technical, code-pleading regime of a prior era,
             but it does not unlock the doors of discovery for a plaintiff
             armed with nothing more than conclusions. Second, only a
             complaint that states a plausible claim for relief survives a
             motion to dismiss . . . Determining whether a complaint states
             a plausible claim for relief will, as the Court of Appeals
             observed, be a context-specific task that requires the
             reviewing court to draw on its judicial experience and common
             sense. But where the well pleaded facts do not permit the court
             to infer more than the mere possibility of misconduct, the
             complaint has alleged – but it has not “show[n]” – “that the
             pleader is entitled to relief.”

Id. at 678-79 (internal citations omitted).




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      The burden to obtain relief under Rule 12(b)(6), however, rests with the defendant.

See, e.g., DirecTV, Inc. v. Treesh, 487 F.3d 471, 476 (6th Cir. 2007). The Court must

“construe the complaint in the light most favorable to the plaintiff, accept its allegations

as true, and draw all reasonable inferences in favor of the plaintiff.” A motion to dismiss

“should not be granted unless it appears beyond doubt that the plaintiff can prove no set

of facts in support of [her] claim which would entitle [her] to relief.” Ibid.

                                       ANALYSIS

      Plaintiff alleges that Defendants violated his Fourteenth Amendment rights.

The Fourteenth Amendment prohibits the State from depriving individuals of life,

liberty, or property without due process of law. U.S. Const. amend. XIV (emphasis

added). A private party is properly characterized as a state actor only if their conduct

is “fairly attributable to the State.”      Vistein v. American Registry of Radiologic

Technologists, 342 Fed. Appx. 113, 127 (6th Cir., Aug. 13, 2009) (quoting Lugar v.

Edmondson Oil Co., 457 U.S. 922, 937 (1982)). Plaintiff has failed to allege facts from

which it can reasonably be inferred that Defendants’ conduct in this matter constituted

state action. Accordingly, Plaintiff’s allegations fail to state a claim on which relief may

be granted. Furthermore, even if Plaintiff could overcome the “state action” hurdle, the

result would be the same.




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      The Fourteenth Amendment’s Due Process Clause has a procedural and

substantive component. Procedural due process mandates that a person receive “fair

procedure” before the State deprives him of life, liberty, or property. See EJS Properties,

LLC v. City of Toledo, 698 F.3d 845, 855 (6th Cir. 2012).       Substantive due process

protects against “against certain government actions regardless of the fairness of the

procedure used to implement them.” Ibid.

      Taking Plaintiff’s procedural due process claim first, whether a person has a

property interest is a question of state law. Ibid. As Defendant notes, under Michigan

law pets are considered personal property. See Koester v. VCA Animal Hospital, 624

N.W.2d 209, 211 (Mich. Ct. App. 2000). To prevail on his claim that his procedural due

process rights were violated based upon the deprivation of his personal property,

Plaintiff must allege that the State’s post-deprivation procedures do not provide an

adequate remedy. See, e.g., Johnson v. City of Saginaw, Michigan, 980 F.3d 497, 507-

08 (6th Cir. 2020). Because Plaintiff makes no such allegations, his procedural due

process claim fails.

      To the extent Plaintiff alleges violation of his substantive due process rights, the

result is the same.    Substantive due process “protects a narrow class of interests,

including those enumerated in the Constitution, those so rooted in the traditions of the

people as to be ranked fundamental, and the interest in freedom from government

actions that ‘shock the conscience.’ ” Range v. Douglas, 763 F.3d 573, 588 (6th Cir.

2014). While the death and illness of Plaintiff’s pets is tragic, torts committed against


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personal property fall well short of this stringent standard. Such claims are better

pursued in the appropriate state forum.      Thus, Plaintiff’s substantive due process

claims fail.

                                     CONCLUSION

       For the reasons articulated herein, the undersigned recommends that Defendants’

Motion to Dismiss (ECF No. 19) be granted and this action terminated.

       OBJECTIONS to this Report and Recommendation must be filed with the Clerk

of Court within fourteen days of the date of service of this notice.          28 U.S.C.

 636(b)(1)(C). Failure to file objections within the specified time waives the right to

appeal the District Court s order.   See Thomas v. Arn, 474 U.S. 140 (1985); United

States v. Walters, 638 F.2d 947 (6th Cir.1981).


                                                 Respectfully submitted,


Date: August 9, 2021                             /s/ Phillip J. Green
                                                 PHILLIP J. GREEN
                                                 United States Magistrate Judge




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